                                           Case 18-20331-LMI                 Doc 135         Filed 02/29/24            Page 1 of 6
            Fill in this information to identify the case:
            Debtor 1
                            Vivian Sanchez
            Debtor 2

            (Spouse, if filing)

            United States Bankruptcy Court for the: Southern District of Florida___
                                                                            (State)

            Case number 18-20331-LMI


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                     12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. 6HHEDQNUXSWF\UXOH

Name of creditor: U.S. Bank Trust National Association,                                Court claim no. (if known): ____4_______
as Trustee of Chalet Series III Trust

                                                                                       Date of payment change:                      4/1/2024
                                                                                       Must be at least 21 days after date
Last four digits of any number you                             9562                    of this notice
use to identify the debtor's account:


                                                                                                                                   
                                                                                       New total payment:                           $723.82
                                                                                     Principal, interest, and escrow, if any



        Part 1:            Escrow Account Payment Adjustment
    1.           Will there be a change in the debtor's escrow account payment?
                 No
                                  Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                 Yes              the basis for the change. If a statement is not attached, explain why: ___________________________________________
                                  __________________________________________________________________________________________________


                                  Current escrow payment:          $44.94                       New escrow payment:         $47.29
    




    Part 2:                 Mortgage Payment Adjustment
        2.        Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
                  debtor's variable-rate note?
                 No
                                  Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                 Yes             attached, explain why:
                                  ___________________________________________________________________________________________________
                                 Current Interest Rate:    ___________%                        New interest rate:     ___________%

        
        
                                  Current principal and interest payment:       $___________ New principal and interest payment:          $___________

    Part 3:                 Other Payment Change
        3.        Will there be a change in the debtor's mortgage payment for a reason not listed above?
                 No
                                  Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                 Yes
                                  agreement. (Court approval may be required before the payment change can take effect)

                                  Reason for change: ____________________________________________________________________________

                                  Current mortgage payment:         $___________                New mortgage payment:            $___________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                                  Page 1
                                 Case 18-20331-LMI                          Doc 135                Filed 02/29/24           Page 2 of 6
    Debtor 1    Vivian Sanchez                                                                            Case Number (if known)   18-20331-LMI
                First Name                Middle Name                 Last Name



Part 4:                 Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    &KHFNWKHDSSURSULDWHER[
         I am the creditor. 
     5 I am the creditor's authorized agent.
                           
    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.
    

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    
    Print:                 Matthew B. Klein                         73529                  Title     %DQNUXSWF\$WWRUQH\         
                           )LUVWQDPH 0LGGOH1DPH /DVWQDPH    
    
    Company                HOWARD LAW                                                    
    
    Address                4755 Technology Way, Suite 104,                                                     
                           1XPEHU                  6WUHHW   
    
                           Boca Raton, FL 33431                                                     
                           &LW\                    6WDWH         =LS&RGH 
    
    Contact phone           (954) 893-7874                          Email:           Matthew@howardlaw.com
    




                                                                    CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on February 29, 2024, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF System, which will send a notice of electronic filing to all CM/ECF

participants:

Jose A Blanco, Esq., Jose A. Blanco, P.A., 102 E 49th ST, Hialeah, FL 33013
Nancy K. Neidich, www.ch13miami.com, POB 279806, Miramar, FL 33027
Office of the US Trustee, 51 S.W. 1st Ave., Suite 1204, Miami, FL 33130

And a copy was mailed via US Mail to:
Vivian Sanchez, 3581 SW 117th Avenue, Unit 5-303, Miami, FL 33175-1779


                                                                                                    /s/ Matthew Klein
                                                                                                   MATTHEW KLEIN
                                                                                                   FLORIDA BAR#: 73529




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                      Case 18-20331-LMI Doc 135 Filed 02/29/24 Page 4 of 6
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                              Case 18-20331-LMI                Doc 135         Filed 02/29/24           Page 5 of 6
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